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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH DAKOTA
                                  CENTRAL DIVISION



                                                                        3:24-cv-3015
 THE CROW CREEK SIOUX TRIBE, a                           Case No.
 federally-recognized Indian tribe,

                             Plaintiff,                  COMPLAINT FOR INJUNCTIVE
 v.                                                      RELIEF

 THE BUREAU OF INDIAN AFFAIRS
 OFFICE OF JUSTICE SERVICES,

                             Defendant.


                                          INTRODUCTION
         1.    This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

for injunctive and other appropriate relief. Plaintiff the Crow Creek Sioux Tribe (the “Tribe”)

seeks the immediate processing and timely release of agency records from Defendant the Bureau

of Indian Affairs Office of Justice Services (“BIA-OJS”).

         2.    On January 26, 2024, the Tribe submitted a FOIA request (the “Request”) to BIA-

OJS seeking records relating to the budget for the Crow Creek Agency BIA-OJS Law Enforcement

Services for fiscal years 2018-2023. The Request seeks information necessary for the Tribe to

understand and determine the categories and amount of funding for law enforcement services for

the Tribe.

         3.    To date, BIA-OJS has not released any responsive records.

         4.    The failure of BIA-OJS to timely identify and release responsive records to the

Tribe is consistent with Defendant’s overall failure to fulfill its treaty and trust responsibilities to




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the Tribe to provide adequate and effective law enforcement services. This negligence has resulted

in a dire public safety crisis on the Tribe’s Reservation.

       5.      The Tribe now asks the Court for an injunction requiring BIA-OJS to immediately

process the Request.

                                 JURISDICTION AND VENUE

       6.      The Court has subject-matter jurisdiction over this action and personal jurisdiction

over the parties pursuant to 5 U.S.C. § 552(a)(4)(B). The Court also has jurisdiction over this

action pursuant to 28 U.S.C. § 1331.

       7.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                             PARTIES

       8.      Plaintiff the Crow Creek Sioux Tribe is a federally-recognized Indian tribe,

recognized to have the immunities and privileges available to federally-recognized Indian tribes

by virtue of their government-to-government relationship with the United States, as well as the

responsibilities, powers, limitations, and obligations of such Indian tribes. See Indian Entities

Recognized by and Eligible to Receive Services From the United States Bureau of Indian Affairs,

89 Fed. Reg. 944, 945 (Jan. 8, 2024).

       9.      Defendant BIA-OJS is “the exclusive federal entity charged with maintaining law

and order on Indian reservations” that “provides law enforcement services directly to tribes by OJS

personnel or by Tribal Police through a self-determination contract or compact.” U.S. Dep’t of the

Interior, Bureau of Indian Affairs Office of Justice Services, https://www.doi.gov/oles/bureau-

indian-affairs-office-justice-services (last visited Feb. 29, 2024).

       10.     Defendant BIA-OJS is a component of the Bureau of Indian Affairs and an agency

within the meaning of 5 U.S.C. § 552(f).




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                                  FACTUAL BACKGROUND

       11.     Like many tribal nations across the United States, the Tribe is facing an ongoing

public safety crisis on its Reservation that has caused the loss of life and continues to endanger the

health and welfare of the Tribe and its members.

       12.     The Tribe’s public safety crisis is a result of the failure of BIA-OJS to adequately

carry out its treaty and trust obligations to provide adequate law enforcement services to the Tribe.

BIA-OJS law enforcement services on the Tribe’s Reservation have been woefully inadequate for

a number of years, despite the Tribe’s countless attempts to induce action by BIA-OJS to remedy

poor staffing, funding, equipment, training, and dispatch response times of its officers.

       13.      On October 17, 2023, Tribal Chairman Peter Lengkeek and legal counsel for the

Tribe met with Special Agent in Charge (“SAC”) for District I of OJS, John Burge, to discuss the

Tribe’s urgent need for adequate law enforcement services on the Reservation.

       14.     SAC Burge and the Tribe’s legal counsel met again on October 26, 2023, to further

discuss the Tribe’s public safety crisis. When discussing the Tribe’s desire to obtain information

and documents relating to BIA-OJS’ budget for the Crow Creek Agency BIA-OJS Law

Enforcement Services, SAC Burge indicated that he could provide the budget upon request by the

Tribe. See Exhibit 1.

       15.     On November 10, 2023, legal counsel for the Tribe requested information and

documents relating to the full budget for the Crow Creek Agency BIA-OJS Law Enforcement

Services for fiscal years 2018-2023 from SAC Burge. See Exhibit 2.

       16.     SAC Burge did not respond to the November 10, 2023, request.

       17.     On December 8, 2023, legal counsel for the Tribe again contacted SAC Burge to

renew the Tribe’s request and inquire when the Tribe could expect a response. See Exhibit 3.




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       18.    SAC Burge did not respond to the December 8, 2023, request.

       19.    On December 15, 2023, legal counsel for the Tribe made a final attempt to obtain a

response from SAC Burge regarding the Tribe’s request for information and documents relating to

the full budget for the Crow Creek Agency BIA-OJS Law Enforcement Services for fiscal years

2018-2023. See Exhibit 4.

       20.    SAC Burge did not respond to the December 15, 2023, request.

       21.    On January 26, 2024, the Tribe submitted a FOIA request to BIA-OJS seeking the

following records:

       The full budget, and any documents relating thereto, for the Crow Creek Agency
       BIA-OJS Law Enforcement Services for fiscal years 2018-2023. This request
       includes:

              (1)    Any and all sources of funds, including any grants or special funds;
                     and

              (2)    the Budget Execution Models for BIA-OJS District I for fiscal years
                     2018-2023, including but not limited to uniform patrol,
                     dispatch/communications, corrections, and criminal investigations;
                     and

              (3)    any and all records that include the categories of funding for the Law
                     Enforcement Program for the Crow Creek Sioux Tribe, including but
                     not limited to employee benefit costs, employee bonuses,
                     administrative staff, and any other category where BIA-OJS separates
                     funding for expenditures used on behalf of the Crow Creek Sioux
                     Tribe; and

              (4)    any and all records that calculate Tribal Shares for the Crow Creek
                     Sioux Tribe; and

              (5)    funding calculations and amounts for the Missing and Murdered Unit
                     that BIA-OJS uses on behalf of the Crow Creek Sioux Tribe for fiscal
                     years 2018-2023; and

              (6)    funding calculations and amounts for drug investigations that BIA-
                     OJS uses on behalf of the Crow Creek Sioux Tribe for fiscal years
                     2018-2023; and




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               (7)    any and all records reflecting how BIA-OJS calculates the salary for
                      each full-time law enforcement officer under uniform patrol.

        22.    On January 26, 2024, the Department of the Interior acknowledged receipt of the

Request and assigned it reference number DOI-BIA-2024-000340.

        23.    On January 29, 2024, the Request was assigned for processing.

        24.    On February 5, 2024, SAC Burge confirmed to legal counsel for the Tribe that the

Tribe’s FOIA request had been received and was being processed. See Exhibit 5.

        25.    To date, BIA-OJS has not released any information or documents in response to the

Request.

        26.    Under the statute, BIA-OJS has twenty (20) working days to respond to a request.

See 5 U.S.C. § 552(a)(6)(A)(i). Far more than twenty (20) working days have passed since the

Tribe submitted the Request. Thus, the statutory time-period has elapsed.

        27.    Pursuant to 5 U.S.C. § 552(a)(6)(C)(i), the Tribe is deemed to have exhausted its

administrative remedies with respect to the Request upon BIA-OJS’ failure to comply with the

applicable time limit.

                                      CAUSE OF ACTION

        28.    Plaintiff reincorporates the allegations in all preceding paragraphs.

        29.    Defendant is obligated under 5 U.S.C. § 552(a)(6)(A)(i) to make a determination

and promptly produce documents responsive to the Tribe’s Request within twenty (20) working

days.

        30.     Defendant is obligated under 5 U.S.C. § 552(a)(3)(A) to make responsive records

promptly available.

        31.    Defendant has failed to promptly produce responsive records.




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       32.    Defendant’s failure to make a determination within the statutory time frame and

promptly produce responsive records violates 5 U.S.C. §§ 552(a)(3)(A) and (a)(6)(A)(i).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

       1.     Order Defendant to immediately process and release and responsive records;

       2.     Award Plaintiff its costs and reasonable attorneys’ fees incurred in this action; and

       3.     Grant such other relief as the Court deems just and proper.

Dated this 23rd day of May 2024.

                                             CROW CREEK SIOUX TRIBE,
                                             a federally-recognized Indian tribe,


                                     By:     /s/ Michelle M. Fox
                                             Michelle M. Fox
                                             CEDAR TREE NATIVE LAW
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                                             Omaha, NE 68101
                                             Ph: (531) 200-6945
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JS 44 (Rev. 03/24)       Case 3:24-cv-03015-KES CIVIL
                                                 Document 1 Filed
                                                      COVER       05/23/24 Page 7 of 7 PageID #: 7
                                                               SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       THE CROW CREEK SIOUX TRIBE, a federally                                                           THE BUREAU OF INDIAN AFFAIRS OFFICE OF JUSICE
       recognized Indian Tribe                                                                           SERVICES
   (b) County of Residence of First Listed Plaintiff Buffalo County                                      County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Michelle M. Fox, Cedar Tree Native Law
         P.O. Box 637, Omaha, NE 68101
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                               or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding              State Court                           Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       5 U.S.C. § 552
VI. CAUSE OF ACTION Brief description of cause:
                                       Seeking immediate processing and timely release of agency records from BIA OJS.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
May 22, 2024                                                         /s/ Michelle M. Fox
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
